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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1430V
                                      Filed: June 13, 2016
                                         UNPUBLISHED

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LORI HILLSTEAD,                        *
                                       *
                   Petitioner,         *      Ruling on Entitlement; Concession;
v.                                     *      Influenza; Shoulder Injury Related to
                                       *      Vaccine Administration (“SIRVA”);
SECRETARY OF HEALTH                    *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Alison Haskins, Maglio Christopher and Toale, Sarasota, FL, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On November 25, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza (“flu”) vaccine in her
left deltoid on September 23, 2014, and that she subsequently suffered a shoulder
injury related to vaccine administration (“SIRVA”). Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On June 13, 2016, respondent filed her Rule 4(c) report in which she concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “believes that the alleged injury is consistent with SIRVA
that was caused by administration of petitioner’s flu vaccine Id. at 4. Respondent
further agrees that petitioner has satisfied all legal prerequisites for compensation under
the Vaccine Act. Id.

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     In view of respondent’s concession and the evidence before me, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                              s/Nora Beth Dorsey
                              Nora Beth Dorsey
                              Chief Special Master




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